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 ~AO 247 (02/08)       Order Regarding Motion for Sentence Reduction


                                                UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                    Eastern District of Michigan

                          United States of America                                 )
                                     v.                                            )
                     JEROME WILBURT MADDOX                                         ) Case No: 88-50070
                                                                                                               .....;.,,;,.....;..,;~~-------------
                                                                                   )   USM No: ..::.1..:..04.:..,:9...:::.8-=-0..:..39::.....-                                   _
Date of Previous Judgment: ...;;.9;..;11;.;;,8;..;11;.;.9..;.;89~            _     )   JOAN MORGAN
(Use Date of Last Amended Judgment if Applicable)                                  )   Defendant's Attorney

                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of D the defendant D the Director of the Bureau of Prisons ~ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       D DENIED.    ~ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 264 months is reduced to         TIME SERVED

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        44         Amended Offense Level:                                                                                               42
Criminal History Category:                Criminal History Category:
Previous Guideline Range:  LIFE to months Amended Guideline Range:                                                                                       360        to LIFE months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
D The reduced sentence is within the amended guideline range.
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
D Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated _ _9=---/-".-18-,--/--,,-1=---98::...:.9--=-_ shall remain in effect
IT IS SO ORDERED.                                                                                              /)            J~                                     .
Order Date:              March 28, 2008                                                                               J      j
                                                                                                                                         Judge's signature

Effective Date:
                           .3~.2."6-6~ _
                                                                                       Paul D. Borman, U.S. District Judge
                          (if different from order date)                                                                            Printed name and title
